                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:11-00194
                                                    )       JUDGE CAMPBELL
KEVIN DWAYNE THOMPSON                               )

                                            ORDER

       Pending before the Court is Defendant Kevin Dwayne Thompson’s Motion To Continue

Sentencing Hearing (Docket No. 933). Through the Motion, the Defendant requests that the

Court continue the sentencing hearing, currently set for December 6, 2012, to a date after April

15, 2013.

       The Motion is GRANTED. The sentencing hearing is CONTINUED until May 3, 2013,

at 9:00 a.m.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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